               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           ASHEVILLE DIVISION
                                1:07-CR-33-11


UNITED STATES OF AMERICA,                         )
                                                  )
Vs.                                               )             ORDER
                                                  )
OTIS RORIE, JR.,                                  )
                                                  )
                 Defendant.                       )
__________________________________                )


        THIS MATTER came on to be heard before the court, pursuant to a motion filed by

the defendant entitled “Defendant’s Motion for Release Pending Sentencing” (#160). The

undersigned had previously considered the issue of the detention of the defendant on April

27, 2007 and had entered a written order detaining the defendant on May 7, 2007. The

undersigned has considered the motion of the defendant as a motion requesting that the court

reconsider the issue of the release of the defendant pursuant to 18 U.S.C. § 3142(f)(2). At

the call of this matter on for hearing the defendant was present with his counsel, Gregory A.

Newman and the Government was present through Assistant United States Attorney, Richard

Edwards and from the evidence offered, the court makes the following findings:

        Findings: The undersigned incorporates by reference the findings previously entered

in the written order of detention filed on May 7, 2007 and the addendum attached thereto as

if fully set forth therein.

        Evidence was presented by the defendant through the defendant’s own testimony.




      Case 1:07-cr-00033-MR-WCM          Document 163         Filed 09/06/07      Page 1 of 4
The defendant testified that he has obtained a promise of employment from Tyson Foods

located in Wilkesboro, NC. It is the plan of the defendant to reside with Hazel Turner and

Catherine Largen in the Morganton community. The defendant desires to be released so that

he can have an opportunity to watch his two sons play sports. His older son is a senior at

Western Carolina University where he is a member of the football team. He has a younger

son who is a senior at Freedom High School where he plays basketball.

       Discussion: The undersigned has reconsidered and reviewed the previous action of

this court in detaining the defendant.        A reexamination of the criminal record of the

defendant shows that in addition to the three felonies set forth in this court’s pretrial order,

the defendant has an additional conviction of possession with intent to sell and deliver

cocaine that occurred on January 3, 1996. As a result, the criminal record of the defendant

shows that he has four felony convictions involving controlled substances; three of them

involving the sale and delivery of cocaine.

       A further examination of the criminal record of the defendant shows that he was

convicted of abandonment and non-support of a child on November 28, 1990. Considering

the time of the conviction and the age of the defendant’s child that is playing football at

Western Carolina University, the court considers that in all likelihood this charge and

conviction related to that child.

       The undersigned has further examined the court file in this matter and has found that

the Government has filed a notice (#88) on May 22, 2007, pursuant to Title 21 U.S.C. § 851



                                                2


    Case 1:07-cr-00033-MR-WCM             Document 163        Filed 09/06/07      Page 2 of 4
giving notice that the defendant has a previous conviction for possession with intent to sell

and deliver cocaine in Burke County, NC.

       After reconsidering this court’s previous order and considering the evidence of the

defendant, the court must find by a clear and convincing evidence that the release of the

defendant would create a danger to any other person or the community. The defendant has

four previous felony convictions, all involving the sale or storage of controlled substances.

The defendant is facing what appears to be a minimum sentence of twenty years if he is

found guilty of these charges which are now pending. The testimony provided by the

defendant does not show a change of circumstances other than the fact that the defendant has

now hopefully obtained employment. This is not a change of circumstance that would have

such great weight as would entitle the defendant to be released.

       The undersigned also considers that the release of the defendant would create a risk

of flight on the part of the defendant in as much as the defendant will be facing a charge for

which he will receive a sentence, if convicted, of at least a twenty year period of

incarceration.

       Based upon the foregoing, the undersigned finds by clear and convincing evidence

that the defendant’s release would create a risk and danger to any other person or the

community as further finds by a preponderance of the evidence that the release of the

defendant would create a risk of flight on his part.




                                               3


    Case 1:07-cr-00033-MR-WCM            Document 163        Filed 09/06/07     Page 3 of 4
                                          ORDER

       WHEREFORE, IT IS ORDERED that the defendant’s motion entitled “Defendant’s

Motion for Release Pending Sentencing” (#160) is hereby DENIED and the defendant is

to continue to be detained pending further orders of the court.



                                              Signed: September 5, 2007




                                              4


    Case 1:07-cr-00033-MR-WCM           Document 163       Filed 09/06/07   Page 4 of 4
